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 4
     Attorney for Defendant, MIGUEL ANGEL NUNEZ-BARRAGAN
 5

 6
                                   UNITED STATES DISTRICT COURT
 7

 8                                EASTERN DISTRICT OF CALIFORNIA

 9                                                 *****
10                                         )
     UNITED STATES OF AMERICA,
                                           ) CASE NO. CR-F-07-0058 LJO
11                                         )
           Plaintiff,
                                           ) AMENDED STIPULATION RE
12                                         ) ADVANCEMENT OF SENTENCING DATE;
     vs.
                                           ) ORDER
13
     MIGUEL ANGEL NUNEZ-BARRAGAN, et al., )
                                           )
14          Defendant.                     )
15
     _____________________________________
            Defendant MIGUEL ANGEL NUNEZ-BARRAGAN, by and through his attorney, JOAN
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17   JACOBS LEVIE, and the United States of America, by and through its attorneys, LAWRENCE G.

18   BROWN, Acting United States Attorney, and KAREN A. ESCOBAR, Assistant United States
19
     Attorney, hereby stipulate to vacate the July 29, 2009 sentencing in this matter and request-setting
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     the sentencing on May 15, 2009, at 9:00 a.m. The reason for the advancement of sentencing is that
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     the trial for codefendant is completed and defendant has satisfactorily completed his promise to
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23   testify at the trial. It is in the interest of defendant’s safety and well-being to be released to the

24   custody of the Bureau of Prisons.
25
                                                   Respectfully submitted,
26
     DATED: May 11, 2009                                  S/ Joan Jacobs Levie____________
27                                                 JOAN JACOBS LEVIE
                                                   Attorney for Defendant,
28                                                 MIGUEL ANGEL NUNEZ-BARRAGAN

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 1
     DATED: May 11, 2009                               S/ Karen A. Escobar______________
 2                                             KAREN A. ESCOBAR
                                               Assistant U.S. Attorney
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 4
                                             *****
 5

 6                                              ORDER
 7
            IT IS HEREBY ORDERED that the date of the sentencing proceedings will be advanced in
 8
     accordance with the above stipulation of counsel. The defendant MIGUEL ANGEL NUNEZ-
 9
     BARRAGAN is ordered to return to court for further proceedings on May 15, 2009 at 8:45 a.m.
10

11   before the Honorable Lawrence J. O’Neill, Courtroom 4.

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13   DATED: May 11, 2009
14
                                        By: ____/s/ Lawrence J. O’Neill _____
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                                               LAWRENCE J. O’NEILL
                                               Judge of the United States District Court
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